      Case 2:16-cv-00713-JTM-MBN Document 330 Filed 10/25/18 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

VINTAGE ASSETS, INC., ET AL.,
                            * CIVIL ACTION NO. 2:16-cv-00713
                            *
       Plaintiffs,          * SECTION H
                            *
versus                      *
                            * JUDGE JANE TRICHE MILAZZO
TENNESSEE GAS PIPELINE      *
COMPANY, L.L.C. & SOUTHERN  *
NATURAL GAS COMPANY, L.L.C. * MAGISTRATE JUDGE MICHAEL
                            * NORTH
       Defendants.          *
*************************

   POST-HEARING MEMORANDUM IN SUPPORT OF MOTION FOR COSTS AND
                    FEES RELATED TO REMAND

       During this Court’s hearing on Plaintiffs’ Motion for Costs and Fees Related to Remand

(R. Doc. 317), counsel for the High Point entities for the first time pointed this Court to an Eleventh

Circuit decision as support for denial of Plaintiffs’ Motion—Purchasing Power, LLC v. Bluestem

Brands, Inc., 851 F.3d 1218 (11th Cir. 2017). Purchasing Power, however, is distinguishable, with

that distinction only further bolstering an award of fees and costs in this matter. As noted by the

High Point entities’ counsel, the Eleventh Circuit in Purchasing Power reversed an award of fees

and costs for the failure by one of the parties to accurately drill down through all the layers of its

limited liability company structure after a diversity-based removal. 851 F.3d at 1228. The critical

distinction, however, is that the LLC in Purchasing Power was the removed plaintiff, Purchasing

Power, LLC, not the removing defendant, Bluestem Brands, Inc. This distinction matters precisely

on the issue of burden—the question this Court put to both parties in today’s hearing.

       In Purchasing Power, the plaintiff LLC’s counsel emailed counsel for the defendant,

Bluestem, to inform them that no members of the LLC were residents of Bluestem’s states of

citizenship. Id.at 1221. Bluestem then relied on that email as the basis for its representation of the



                                             -1-
      Case 2:16-cv-00713-JTM-MBN Document 330 Filed 10/25/18 Page 2 of 5



existence of diversity in its removal petition. Id. When Bluestem later inquired into the identity

and citizenship of the members of the plaintiff LLC, the plaintiff (Purchasing Power) objected to

the discovery request. Id. at 1221-22. The district court subsequently sanctioned Purchasing

Power’s counsel. Id. at 1222. The Eleventh Circuit reversed, holding both parties accountable

because Bluestem, as removing defendant, maintained the burden to show diversity jurisdiction:

       Although Bluestem carried the burden of establishing diversity jurisdiction at all
       times, the district court excused Bluestem’s failure because Purchasing Power
       objected during discovery to a request aimed at establishing jurisdiction. An
       objection does not relieve Bluestem of its duty to establish diversity jurisdiction.
       Bluestem had a responsibility to raise the issue of Purchasing Power’s objection
       with the court. Failure to bring the issue to the district court was a failure of its duty
       as the removing party. Purchasing Power’s actions do not excuse this failure.

Id. at 1225-26 (emphasis added).

       Simply put, the Eleventh Circuit reversed because it found both sides at fault: (1) the

removed plaintiff’s counsel was at fault for failing to inquire sufficiently into its own members’

citizenship; (2) the removed plaintiffs were at fault for objecting to discovery requests into their

members’ citizenship; and (3) the removing defendant was at fault because the ultimate burden of

establishing diversity jurisdiction remained with it “at all times.” Here, by contrast, all three

failures are on the defendants’ side of the case (and all defendants were represented together by

shared counsel): (1) defendants’ counsel failed to inquire sufficiently into the High Point entities’

constituent citizenship; (2) the High Point defendants incompletely answered and objected to

discovery requests that would have revealed the High Point entities’ constituent citizenship; and

(3) as confirmed in Purchasing Power, the ultimate burden of establishing diversity jurisdiction

remained “at all times” with the removing defendants—such that it was the removing defendants,

not Plaintiffs, who had the duty to raise the issue with the court.

       One other key distinction is that, in Purchasing Power, the court emphasized repeatedly

that no effort was made to verify whether diversity jurisdiction existed. Id. at 1220-21 (“… no one
                                                  -2-
      Case 2:16-cv-00713-JTM-MBN Document 330 Filed 10/25/18 Page 3 of 5



verified it”), 1222 (“… no one bothered to investigate”). Here, Plaintiffs sought through written

discovery and in their designation of 30(b)(6) topics to discover the relevant information, but were

stymied by incomplete responses and objections. Furthermore, at today’s hearing the High Point

entities’ counsel admitted the High Point entities knew to make an inquiry before representing in

their Answer that diversity jurisdiction existed, but that the inquiry was faulty. 1 The fees and costs

for unnecessary litigation arising from a reckless disregard for the proper inquiry are a natural

consequence of such an admitted mistake.

        Accordingly, Purchasing Power does not—contrary to the High Point entities’ counsel’s

argument at today’s hearing—support denial of Plaintiffs’ motion. Indeed, it actually highlights

how the burden, as well as the breaches of duty, all rest with the defendants and their counsel, such

that Plaintiffs should be awarded all reasonable fees and costs.2

                                          Respectfully submitted,

                                          /s/ H.S. Bartlett III
                                          FISHMAN HAYGOOD, L.L.P.
                                          James R. Swanson (La. #18455)
                                          Lance C. McCardle (La. #29971)
                                          Benjamin D. Reichard (La. #31933)
                                          E. Blair Schilling (La. #35308)
                                          201 St. Charles Avenue, Suite 4600


1
  Indeed, this admission also removes this case from the situation in Purchasing Power where the court
took the district court to task for not being vigilant as to jurisdiction. Id.at 1228. Here, with defendants
engaging in a faulty inquiry into their constituent layers of membership, no amount of vigilance by the
Court or by the Plaintiffs may have uncovered the defect. Defendants, and defendants alone, had full control
of the information.
2
  Notably, the Purchasing Power court also examined the necessity under Eleventh Circuit law for a finding
of subjective bad faith as a prerequisite for fees and costs under the Court’s inherent power; but that court
also specifically noted that 28 U.S.C. § 1927 and Rule 11 did not require a finding of subjective bad faith.
Here, Plaintiffs have cited Rules 11 and 37 as the source of defendants’ and their counsel’s duties here, and
28 U.S.C. § 1927, 28 U.S.C. § 1447(c), Rule 37, and the Court’s inherent powers as sources of the requested
remedy for breach of those duties. Further, as argued in Plaintiffs’ reply memorandum (R. Doc. 326, at 8-
9), the Fifth Circuit has found a reckless disregard for the duty to reasonably inquire constitutes bad faith.
Gonzalez v. Fresenius Medical Care N. Am., 689 F.3d 470, 480 (5th Cir. 2012).

                                                     -3-
     Case 2:16-cv-00713-JTM-MBN Document 330 Filed 10/25/18 Page 4 of 5



                                      New Orleans, Louisiana 70170
                                      Telephone: (504) 586-5252
                                      Facsimile: (504) 586-5250

                                      BALLAY, BRAUD & COLON, PLC
                                      S. Jacob Braud (La. #28318)
                                      8114 Highway 23, Suite 101
                                      Belle Chasse, Louisiana 70037
                                      Telephone: (504) 394-9841
                                      Facsimile: (504) 394-9945

                                      JONES, SWANSON, HUDDELL
                                        & GARRISON, L.L.C.
                                      Gladstone N. Jones, III (La. #22221)
                                      Kevin E. Huddell (La. #26930)
                                      Eberhard D. Garrison (La. #22058)
                                      Emma Elizabeth Antin Daschbach (La. #27358)
                                      H.S. Bartlett, III (La. #26795)
                                      John T. Arnold (La. #31601)
                                      Bernard E. Boudreaux, Jr. (La. #002219)
                                      601 Poydras Street, Suite 2655
                                      New Orleans, Louisiana 70130
                                      Telephone: (504) 523-2500
                                      Facsimile: (504) 523-2508

                                      VERON, BICE, PALERMO & WILSON, L.L.C.
                                      J. Michael Veron (La. #7570)
                                      J. Rock Palermo, III (La. #21793)
                                      Alonzo P. Wilson (La. #13547)
                                      Turner D. Brumby (La. #33519)
                                      Ashley E. Philen (La. #31285)
                                      721 Kirby Street (70601)
                                      P.O. Box 2125
                                      Lake Charles, Louisiana 70602
                                      Telephone: (337) 310-1600
                                      Facsimile: (337) 310-1601

                                      COUNSEL FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE

       I hereby certify that on October 24, 2018, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system, which will send a notice of the electronic filing to the



                                                -4-
     Case 2:16-cv-00713-JTM-MBN Document 330 Filed 10/25/18 Page 5 of 5



counsel of record for the Defendants.



                                           /s/ H.S. Bartlett III
                                          Harvey S. Bartlett III




                                        -5-
